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AO 440 (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                          for the

                                            SOUTHERN DISTRICT OF NEW YORK

                                                                      )
John Curtis Rice,                                                     )
                             Plaintiff(s)                             )
                                                                      )
                                   v.                                 )      Civil Action No.
                                                                      )
                                                                      )
Zelnik & Company, LLC,                                                )
                            Defendant(s)                              )

                                                SUMMONS IN A CIVIL ACTION

 To: (Defendant's name and address)
    Zelnik & Company, LLC
    263 Mineola Blvd
    Mineola, NY 11501

          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) – or
60 days if you are the United States, or a United States agency, or an officer or employee of the United
States described in Fed. R. Civ. P. 12 (a)(2) or (3) – you must serve on the plaintiff an answer to the
attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or
motion must be served on the plaintiff or plaintiff's attorney, whose name and address are:
                                        SANDERS LAW GROUP
                                            CRAIG SANDERS
                                   333 Earle Ovington Blvd, Suite 402
                                           Uniondale, NY, 11553

       If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

                                                             CLERK OF COURT


       7/18/2024                                                    /s/ J. Gonzalez
 Date: ______________________                                ________________________________________
                                                                            Signature of Clerk or Deputy Clerk
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Civil Action No.

                                           PROOF OF SERVICE
           (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This Summons for (name of individual and title, if any) _____________________________________
was received by me on (date) ____________________.


          [ ] I personally served the summons on the individual at (place) __________________________
          ___________________________________________________ on (date) _______________; or
          [ ] I left the summons at the individual's residence or usual place of abode with (name) _______
          __________________________, a person of suitable age and discretion who resides there,
          on (date) ________________, and mailed a copy to the individual's last known address; or
          [ ] I served the summons on (name of individual) ______________________________ , who is
          designated by law to accept service of process on behalf of (name of organization) ______________
          _____________________________________ on (date) ________________ ; or
          [ ] I returned the summons unexecuted because ________________________________ ; or
          [ ] Other (specify):




          My fees are $ ___________ for travel and $ ___________ for services, for a total of $ __ __ .

          I declare under penalty of perjury that this information is true.


 Date: ________________
                                                                           Server's signature


                                                                         Printed name and title




                                                                           Server's address

Additional information regarding attempted service, etc:
